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           IN THE UNITED STATES DISTRICT C            cp11/EnDE    MIDDLE
               DISTRICT OF ALABAMA SOUTHERN DIVISION

                                        *     1013 JUL -5 P 2: 2 1
waLL.IAm K. WOODHAM; COLBY L.0               DEBRA P. HADCETT,
CARPENTER; MICHAEL BLAKE
JOHNSON; BRADLEY YORK JOHNSON;                        01c:   ALA
BRADLEY YORK JOHNSON, DBA
JOHNSON HAY FARMS; and,
PLAITNIFFS.


vs.                                         Case Number

                                                  ►   )8-CAPC038-CSC

GEORGE IRVIN "SONNY" PURDUE, III*
UNITED STATES SECRETARY OF
AGRICULTURE, THE UNITED STATES
DEPARTMENT OF AGRICULTURE,
DEFENDANT
                          COMPLAINT

                              JUtisdiction

      1.    Jurisdiction of the United States District Court

of the Middle District of Alabama, Southern DiViSion is

invoked pursuant to 28 USCS 1331, Federal Que.stion

JUrišdiction, 7 USCS 6999 and 28 USCS 2412.

                      Statement of the Parties

      2.    William K. Woodham, is a resident citizen of

Columbia, Henry county, Alabama situated in the Middle

District of Alabama, Southern DivisiOn. ThoSe thifigs made

the basis of this complaint arise from activities occurring

within the Middle District of Alabama, SOuthern Division.



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    3.    Colby Lee Carpenter, is a resident citizen of

Columbia, Henry County, Alabama situated in the Middle

District of Alabama, Southern Division. Those things made

the basis of this complaint arise from activities occurring

within the Middle District of Alabama, Southern Division.

    4.    Michael Blake Johnson, is a resident citizen of

Headland, Henry County, Alabama situated in the Middle

District of Alabama, Southern DiVišion. Those things made

the basis of this complaint arise from activities occurring

within the Middle District of Alabama, Southern Division.

    5.    Bradley York Johnson, dba Johnson Hwy Farms is a

resident citizen of Headland, Henry County, Alabama

situated in the Middle District of Alabama, Southern

Division. Those things made the basis of this complaint

arise from activities occurring within the Middle District

of Alabama, Southern Division

    6.    There exist commonality of issues between the

plaintiffs in that they have all suffered similar treatment

from the defendant each receiving       a   favorable ruling from

the United States Department of Agriculture Office ,of the

Secretary, National Appeals Division, (at times NAD).

Notwithstanding the favorable ruling, facts of which will



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be set out with more particularity regarding each plaintiff

below, none of the plaintiff's have had the favorable

ruling received implemented as required by law. The conduct

of the defendant in not implementing the decision of the

NAD is arbitrary, capricious and contrary to law.

    7.    All of the plaintiffs are collard gtoWers who

suffered losses and made claims for benefits under the

Nonins.uted Crop Disaster As5istance Program but were denied

benefits by the Department of AgriCUlture. Each appealed

the decision of the DepartMent of Agriculture to its

National Appeals Division. The cases of the plaintiffs were

consolidated for one hearing date.         Each plaintiff received

a favorable ruling reversing the denial of benefits under

the program.    The Secretary of Agriculture has failed and

refused to implement the favorable ruling. All of the

plaintiffs are entitled to the same maximum compensation

under the program and none have been paid.

    8.    The defendant is the United StateS Secretary of

Agriculture, the Honorable George ItVin "Sonny" Purdue,

III, United States Department of Agriculture, (the Agency),

who bears the legal responsibility of implementing the

decision of the National Appeals Division within 30 days



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unless a timely request for review is filed which did not

occur. The Agency ha,s not implemented the decision as will

be set out in more detail below with respect to each

plaintiff,

      9.    The amount that is due each       plaintiff   iš readily


calculable by the defendant. The plaintiffs have a clear

legal right to the relief sought. Since all of the

pla,intiffs are entitled, pursuant to the Noninusured Crop

Disaster Assistance Program (NAP), to the maximum amount

available under the program for a their respective losses

there is no need to remand this matter to the Agency prior

to   judgment being entered.

      10.   The legal and factual issues are identical for all




                                 Count 1

                         (William K. Woodham)

      11.   Plaintiff, William K. Woodham, is         a resident of

Henry County, Alabama who farms land in Henry County,

Alabama. On April 10, 2017 he filed a Notice of Loss with

the defendant.




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    12.   The Notice of Loss, sought compensation under the

NAP due to Excess Moisture/Precipitation for Collard

Greens.

    13.   The Agency denied relief under NAP and the

plaintiff, Mr. Woodham, filed a timely appeal with National

Appeals Division. A hearing was held on February 13, 2018.

    14.      The Administrative Law Judge issued a final

ruling on 23 March 2018 and determined the plaintiff

William K. Woodham met his burden of proof that the

Agency's decision to deny benefits pursuant to NAP was

erroneous.

    15.   The Agency did not seek a review of the final

determination of the Administrative Law Judge. If a review

is hot sought the Agency is required to iMpleMent the final

determination within thirty days of the effective date of

the ruling of the Administrative Law Judge.           7 USC 7000(a)

    16.   The Agency has done nothing to implement the final

determination of the Administrative Law Judge even though

more than thirty days have elapsed from the effeCtiVe date

of the final determination and its behavior is arbitrary,

capricious and contrary to law.

    Wherefore Plaintiff William K.. Woodham seeks an order:



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A.   Enforcing the ruling of the Administrative Law Judge

entered on 23 March 2018;

B.   That the Agency be required to provide the Court with

the calculations of the benefits due the Plaintiff as a

result of the ruling of the Administrative Law Judge;

C.   That the Court calculate statutory interest on the sums

due by the Ruling of the Administrative Law Judge;

D.   That the Court enter judgment for the benefits due as a

resUlt Of the ruling of the Administrative Law Judge and

interest;

E.   That the Court enter judgment in an additional amount

for costs and attorney fees pursuant to 28 USCS 2412.

                                Count 2

                       (Colby Lee Carpenter)

     17.    Plaintiff, Colby Lee Carpenter, is a resident of

Henry County, Alabama who farms land in Henry County,

Alabama. On April 10, 20171 he filed a Notice of Loss with

the defendant.




1- The
       Agency stamped a receipt date on the Notice of Loss of April
 4, 2017 and states in its letter of September 13, 2017 .the
 filing date is April 4, 2017. The notice bears a date of April
 10, 2017. The AdMinistrative Law Judge states the Notice of Loss
 was filed on April 10, 2017. (Page 2 Numbered Paragraph 6 NAD
 Determination)


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    18.     The Notice of Loss, sought compensation under the

NAP due to Excess Moisture/Precipitation for Collard

Greens.

    19.     The Agency denied relief under NAP and the

plaintiff, Colby Lee Carpenter, filed a timely appeal with

National Appeals Division. A hearing was held on February

13, 2018.

    20.      The Administrative Law Judge issued a final

ruling on 23 Match 2018 and determined the plaintiff Colby

Lee Carpenter met his burden of proof that the Agency's

decision to deny benefits pursuant to NAP was erroneous.

    21.     The Agency did not seek a review of the final

determination of the AdMinistratiVe Law Judge. If a review

is not sought the .Agency is required to implement the final

determination within thirty days of the effective date of

the ruling of the Administrative Law Judge.           7 USC 7000(a)

    22.     The Agency has done nothing to impleMent the final

determination of the AdMinistratiVe Law Judge even though

more than thirty days have elapsed from the effective date

of the final determination and its behavior is arbitrary,

capricious and contrary to law.

    Wherefore Plaintiff Colby Lee Carpenter seeks an order:



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A.   Enforcing the ruling of the Administrative Law Judge

entered on 23 March 2018;

B.   That the Agency be required to provide the Court with

the calculations of the benefits due the Plaintiff as a

result of the ruling of the Administrative Law Judge;

C.   That the Court calculate statutory interest on the sums

due under the Ruling of the Administrative Law Judge;

D.   That the Court enter judgment for the benefits due as a

result of the ruling of the Administrative Law Judge and

interest;

E.   That the Court enter judgment in an additional amount

for costs and attorney fees pursuant to 28 USCS 2412.

                                Count 3

                      (Michael Blake Johnson)

     23.    Plaintiff, Michael Blake Johnson, is a resident of

Henry County, Alabama who farms land in Henry County,

Alabama. On April 18, 20172 he filed a Notice of Loss with

the defendant.

     24.    The Notice of Loss, sought compensation under the

NAP due to Excess Moisture/Precipitation for Collard

Greens.

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 The NAD Determination states the date of filing is Aril 17, 2017
with the same date for the date of the realization of loss.


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    25.   The Agency denied relief under NAP and the

plaintiff, Michael Blake Johnson, filed a timely appeal

with the National Appeals Division. A hearing was held on

February 13, 2018.

    26.      The AdMinisttative Law Judge issued a final

ruling on 27 March 2018 and determined the plaintiff

Michael Blake Johnson met his burden of proof that the

Agency's decision to deny benefits pursuant to NAP was

erroneous.

    27.   The Agency did not seek a review of the final

determination of the Administrative Law Judge. If a review

is not sought the Agency is required to implement the final

determination within thirty days of the effective date of

the ruling of the Administrative Law Judge.           7 USC 7000(a)

    28.   The Agency has done nothing to implement the final

determination of the Administrative Law Judge even though

more than thirty days have elapsed froM the effective date

of the final deterMinatiOn and its behavior is arbitrary,

capricious and contrary to law.

    Wherefore Plaintiff Michael Blake Johnson seeks an

order:




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A.   Enforcing the ruling of the Administrative Law Judge

entered on 27 March 2018;

B.   That the Agency be required to provide the Court with

the calculations of the benefits due the Plaintiff as a

result of the ruling of the Administrative Law Judge;

C.   That the Court enter judgment for statutory interest on

the sums due under the Ruling of the Administrative Law

Judge;

D.   That the Court enter judgment fot the benefits due as a

result of the ruling of the Administrative Law Judge and

interest;

E.   That the Court enter judgment in an additional amount

for costs and attorney fees pursuant to 28 USCS 2412.

                                Count 4

           (Bradley York Johnson dba Johnson Hay Farms)

     29.    Plaintiff, Bradley York Johnson, is a resident of

Henry County, Alabama who farms land in Henty County,

Alabama. On April 17, 2017 he filed a Notice of Loss with

the defendant.

     30.    The Notice of Loss, sought compensation under the

NAP due to Excess Moisture/Precipitation for Collard

Greens.



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    31.   The Agency denied relief under NAP and the

plaintiff, Mr. Bradley York Johnson, filed a timely appeal

with National Appeals Division. A hearing was held on

February 13, 2018.

    32.      The Administrative Law Judge issued a final

ruling on 27 March 2018 and determined the plaintiff

Bradley York Johnson met his burden of proof that the

Agency's decision to deny benefits pursuant to NAP was

erroneous.

    33.   The Agency did not seek a review of the final

determination of the Administrative Law Judge. If a review

is not sought the Agency is required to implement the final

determination within thirty days of the effective date of

the ruling of the Administrative Law Judge.          7 USC 7000(a)

    34.   The Agency has done nothing to implement the final

determination of the Administrative Law Judge even though

more than thirty days have elapsed from the effective date

of the final determination and its behavior is arbitrary,

capricious and contrary to law.

    Wherefore Plaintiff Bradley York Johnson seeks an

order:




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A.   Enforcing the ruling of the Administrative Law Judge

entered on 27 March 2018;

B.    That the Agency be required to provide the Court with

the calculations of the benefits due the Plaintiff as a

result of the ruling of the Administrative Law Judge;

C.    That the Court enter judgment for statutory interest on

the sums due under the Ruling of the Administrative Law

Judge;

D.    That the Court enter judgment for the benefits due as a

result of the ruling of the Administrative Law Judge and

interest;

E.   That the Court enter judgment in an additional amount

for costs and attorney fees pursuant to 28 USCS 2412.




                                          arles N. Reese (REE010)
                                        Attorney for Plaintiffs
                                        P. O. Drawer 250
                                        1 Old Town Square
                                        Daleville, Alabama
                                        36322
                                        cnevillereese@mac.com
                                        334-598-6321
                                        334-598-4216 (facsimile)




                                       Spencer       zey (DAN 42)
                                       Attorney for Plaintif


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                                  P. O. Box 608
                                  104 West Court Square
                                  Abbeville, Alabama
                                  36310
                                  spenOe@dan2eyfitM.com
                                  334-585-2246




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